           Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 1 of 8




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 6

 7                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA
 8
     THE UNITED STATES OF AMERICA,                      CASE NO. 19-148-1(CKK)
 9
     PLAINTIFFS,                                        DEFENDANT MICHEL’S NOTICE OF
10                                                      UPDATED EXHIBITS.
11

12
     VS.
13

14

15
     PRAKAZREL MICHEL, ET AL.,                          The Honorable Colleen Kollar-Kotelly
16
     DEFENDANTS.
17
18
                           DEFENDANT’S NOTICE OF UPDATED EXHIBITS
19
            Mr. Michel, by and through its undersigned attorneys, respectfully submits this
20
     Notice of updated exhibits with descriptions and corresponding Bates numbers. Defendant
21

22 anticipates potentially identifying limited additional exhibits prior to and through trial.

23                                                EXHIBITS
24           Ex. #       Ex. Description                                    Ex. Bates #
25                   1   Higginbotham interview transcript.2017.09.11       DOJ-0000106663
                     2   Lidsky Grand Jury Transcript.2021.06.10            DOJ-0002467340
26                   3   Lidsky Grand Jury Transcript2020.09.10             DOJ-0002467873
                     4   Lidsky Grand Jury Transcript2021.05.20             DOJ-0002467988
27
                     5   Lidsky Grand Jury Transcript2020.09.10             DOJ-0002469291
28                   6   Higginbotham Interview Recordings                  DOJ-0000106653

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                             DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
     Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 2 of 8




 1          7   Higginbotham Interview Recordings           DOJ-0000106654
            8   Higginbotham Interview Recordings           DOJ-0000106655
 2          9   Higginbotham Interview Recordings           DOJ-0000106656
 3         10   Higginbotham Interview Recordings           DOJ-0000106657
           11   Drive #9 – Bekkadem Audio Recording         DOJ-0002372936
 4         12   Elliot Broidy Recording                     DOJ-0002809038
           13   Erica Hilliard 302 04.11.2018               DOJ-0000099267
 5
           14   Notes on Erica Hilliard                     DOJ-0000099271
 6         15   Proffer of Pakazrel “Pras” Michel           DOJ-0002394154
           16   Pras Michel 302s 01.17.2018                 DOJ-0002394177
 7         17   Email from Lance Robinson to James Mann     DOJ-0002812844
           18   Higginbotham’s Notebook                     DOJ-0000106587
 8
                Pras Michel Email to Higginbotham, Kulak,
 9         19   Moscowitz                                   USG-0000015172
           20   Email Higginbotham to Pras                  USG-0000013708
10         21   Email from Higginbotham to Pras             DOJ-0002802190
11         22   Application for Search Warrant              DOJ-0002487158
                Memorandum of Investigation-Interview
12         23   Higginbotham                                DOJ-0000111922
           24   Email From Lance Robinson to James Mann     DOJ-0002812844
13         25   Higginbotham Resignation Email to DOJ       DOJ-0002812842
14              Higginbotham Resignation Email effective
           26   08/17/2018                                  DOJ-0002812843
15         27   Higginbotham Resignation to DOJ             DOJ-0000196190
           28   Nickie Lum Davis 302 09/13/2019             DOJ-0000094927
16         29   Nickie Lum Davis screenshots                DOJ-0000112096
17         30   Nickie Lum Davis screenshots                DOJ-0000112097
           31   Nickie Lum Davis screenshots                DOJ-0000112098
18         32   Nickie Lum Davis screenshots                DOJ-0000112099
           33   Nickie Lum Davis screenshots                DOJ-0000112101
19         34   Nickie Lum Davis screenshots                DOJ-0000112097
20         35   Nickie Lum Davis screenshots                DOJ-0000112102
           36   Nickie Lum Davis screenshots                DOJ-0000112103
21         37   Nickie Lum Davis screenshots                DOJ-0000112104
           38   Nickie Lum Davis screenshots                DOJ-0000112106
22
           39   Email from Erica Hilliard to Jim Hoch       DOJ-0001121007
23         40   Nickie Lum Davis screenshots                DOJ-0000112108
           41   Nickie Lum Davis screenshots                DOJ-0000112110
24         42   Nickie Lum Davis screenshots                DOJ-0000112111
25         43   Nickie Lum Davis screenshots                DOJ-0000112112
           44   Nickie Lum Davis screenshots                DOJ-0000112113
26         45   Nickie Lum Davis screenshots                DOJ-0000112114
           46   Nickie Lum Davis screenshots                DOJ-0000112115
27         47   Nickie Lum Davis screenshots                DOJ-0000112116
28         48   Nickie Lum Davis screenshots                DOJ-0000112117

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                    DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
     Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 3 of 8




 1         49   Nickie Lum Davis screenshots                     DOJ-0000112118
           50   Nickie Lum Davis screenshots                     DOJ-0000112119
 2         51   Nickie Lum Davis screenshots                     DOJ-0000112120
 3         52   Nickie Lum Davis screenshots                     DOJ-0000112121
           53   Nickie Lum Davis screenshots                     DOJ-0000112122
 4         54   Nickie Lum Davis screenshots                     DOJ-0000112123
           55   Lum Davis Forfeiture Claim                       DOJ-0000142222
 5
                Lum Davis seized hard copy Consulting
 6         56   Agreement                                        DOJ-0000142227
                Lum Davis seized hard copy re: Consulting
 7         57   Agreement                                        DOJ-0000142413
           58   Hillard Overview of Proffer Agreement            DOJ-0000092749
 8              Iphone message from Trish Lum to Pras and
 9         59   Nickie                                           DOJ-0002807885
           60   Letter Lidsky to Gontarek re: Pras deposits      DOJ-0002808050
10              Email Pollack to Pras re: pre-indictment
           61   resolution                                       PRAS00000054
11         62   Excel sheet of LUM Bates                         DOJ-0002812650
12         63   Agent to Agent text                              DOJ-0002809053
           64   Production 17                                    DOJ-0002809061
13         65   Production 17                                    DOJ-0002809062
                Review Negotiate agreements for Pras music
14         66   Production Platform                              DOJ-0002812846
15         67   Email from Kreger to Ellersick                   DOJ-0002813850
           68   Email from Masselli to Sean Mulryne re: Willis   DOJ-0002812851
16         69   Robert Willis Proffer Agreement                  DOJ-0002812852
           70   Email form Kaplan to Sean Mulryne                DOJ-0002812854
17
           71   Email from Ryan Ellersick                        DOJ-0002812857
18         72   FBI Pras Interview Notes                         DOJ-0002812860
                Email from Lidsky to Sean Mulryne re: timing
19         73   of transactions                                  DOJ-0002812862
                Prasperity Group Development Fund
20         74   Agreement                                        DOJ-0002812865
21         75   Interview of Frank White                         DOJ-0002812872
                FOIS confidential treatment request
22         76   confidential settlement communication            DOJ-0002812880
           77   Elliot Broidy WhatsApp Message                   DOJ-0002812909
23
           78   Submission to the Public Integrity Section       DOJ-0002812915
24         79   Ron Vinder 302 02/23/2018                        DOJ-0000103858
           80   Steven Plotnick 302 07/19/2018                   DOJ-0000105514
25
           81 Frank White Junior 302 08/14/2018                  DOJ-0000105522
26
           82 Interview of Steve Wynn 8/31/2020                  DOJ-0002473136
27            Consensual recording of Interview with
           83 Higginbotham 09/11/2017                            DOJ-0000103485
28         84 Memorandum of Investigation Interview of           DOJ-0002473157
                                        -3-
                    DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
     Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 4 of 8




 1              Marc Moscowitz 08/05/2020
           85   BRB Holdings WF 4690 Stmts ($2.5M deposit) DOJ-0002537859
 2         86   BRB Holdings WF Acct 4690 Deposit $2.5M     DOJ-0002772395
 3              PJ 2012 WF 3232 $6.5Mill withdrawn by Barry
           87   B                                           DOJ-0002771523
 4              SPM 2012 WF 3240 Withdrawal Barry B
           88   $2.5M                                       DOJ-0002772396
 5              Anicorn Stmt 05-2017 $8M In from Lucky
           89   Mark                                        DOJ-0001516783
 6
           90   CC $702K to Colfax Law Office               DOJ-0001516788
 7        100   CC $305K to Colfax Law Office               DOJ-0001516789
          101   Anicorn Stmt 95870 03 to 07 2017            DOJ-0001516794
 8        102   Anicorn Stmt 95889 03 to 07 2017            DOJ-0001516806
 9        103   Artemus Stmt 95919 03 to 07 2017            DOJ-0001516834
          104   Artemus Stmts 95900 04 to 07 2017           DOJ-0001843384
10        105   Lucky Mark Registration HK                  DOJ-0001843410
          106   Articles of Assoc Lucky Mark                DOJ-0001843427
11
          107   Cert of Inc Lucky Mark                      DOJ-0001843436
12        108   Higginbotham Ltr to CNB                     DOJ-0001843437
          109   Archerfield Funding WF 3122 Stmts           DOJ-0002537977
13        110   Archerfield Funding WF 3122 Transfers       DOJ-0002541957
          111   Bekkedam WF 2980 Stmts                      DOJ-0002543580
14
          112   Bekkedam WF 3004 Stmts                      DOJ-0002543240
15        113   Bekkedam WF 5495 Stmts                      DOJ-0002543181
          114   Bekkedam WF 6310 Stmts                      DOJ-0002543657
16        115   BRB Holdings WF 4690 Stmts                  DOJ-0002537859
17        116   BRB Holdings WF 4690 Transfers              DOJ-0002541913
          117   BRB Holdings WF Acct 4690 Deposit $2.5M     DOJ-0002772395
18        118   Cruden Bay Ptrs WF 0004 Stmts               DOJ-0002542495
          119   PJ 2012 WF 3232 Stmts                       DOJ-0002771629
19        120   PJ 2012 WF 3232 Transactions                DOJ-0002771523
20        121   PJ 2012 WF 3232 Wires                       DOJ-0002541901
                PJ 2012 WF 3232 Wires over $1 mill out by
21        122   Barry                                       DOJ-0002771658
          123   SPM 2012 WF 3240 Stmts                      DOJ-0002771257
22              SPM 2012 WF 3240 Withdrawal Barry B
23        124   $2.5M                                       DOJ-0002772396
          125   SPM 2012 WF 68912                           DOJ-0002543075
24        126   SPM 2012 WF 68912 Stmts Savings             DOJ-0002771424
                SPM Holdings WF 3240 Wires Barry B
25        127   initiated                                   DOJ-0002771677
26        128   Fundraising image                           KLFPM-00000001
          129   Pras_BHO_picture                            KLFPM-00000002
27        130   OFA_Picture                                 KLFPM-00000003
          131   Pras_WC_Penn_Picture                        KLFPM-00000004
28
          132   Blacture_Bus                                KLFPM-00000005
                                            -4-
                      DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
     Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 5 of 8




 1        133   Blacture_ppt                             KLFPM-00000017
          134   Blacture_App                             KLFPM-00000024
 2        135   Pras_Business                            KLFPM-00000030
 3        136   Field Test                               KLFPM-00000040
          137   Financials                               KLFPM-00000066
 4        138   CertAgr                                  KLFPM-00000079
          139   BlactureApp                              KLFPM-00000091
 5
          140   StrCred                                  KLFPM-00000098
 6        141   USPTO                                    KLFPM-00000113
          142   White_Lotto                              KLFPM-00000121
 7        143   Syte                                     KLFPM-00000133
          144   Blacture4                                KLFPM-00000136
 8
          145   BlactureFin                              KLFPM-00000162
 9        146   BlactureFocus                            KLFPM-00000168
          147   Blacture6                                KLFPM-00000211
10        148   Movi_Zmbizi                              KLFPM-00000221
11        149   VisaLic                                  KLFPM-00000294
          150   FCCReq                                   KLFPM-00000306
12        151   OEM                                      KLFPM-00000311
          152   EMVCo                                    KLFPM-00000319
13
          153   Verizon_EMEA                             KLFPM-00000322
14        154   Blacture7                                KLFPM-00000335
          155   ZmBIZI                                   KLFPM-00000338
15        156   ZMBIZIApp                                KLFPM-00000340
          157   Blacture8                                KLFPM-00000342
16
          158   Syte2                                    KLFPM-00000346
17        159   Blacture9                                KLFPM-00000350
          160   ZmbiziApp3                               KLFPM-00000352
18        161   ZMBIZIAPp4                               KLFPM-00000365
19        162   Marketing Plan                           KLFPM-00000378
          163   ZMBIZIApp9                               KLFPM-00000434
20        164   Skrill                                   KLFPM-00000450
          165   Visa_ZMBIZI                              KLFPM-00000459
21
          166   Nuntiux_ZMBIZI                           KLFPM-00000468
22        167   Blacture10                               KLFPM-00000471
          168   ZMBIZI11                                 KLFPM-00000483
23        169   ZBIZI                                    KLFPM-00000486
          170   Blacture12                               KLFPM-00000488
24
          171   Blacture11                               KLFPM-00000493
25        172   Blacture12                               KLFPM-00000497
          173   Vizenze                                  KLFPM-00000532
26        174   VisaLic                                  KLFPM-00000564
27        175   ADAgr_AppTap                             KLFPM-00000576
          176   ZMBIZIP2                                 KLFPM-00000590
28        177   THXLic                                   KLFPM-00000610
                                       -5-
                   DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
     Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 6 of 8




 1        178   Kanisi                                    KLFPM-00000612
          179   USPTO2                                    KLFPM-00000622
 2        180   Island_Wireless_SOW                       KLFPM-00000629
 3        181   ZMBIZI_TermSht                            KLFPM-00000633
          182   Blacture13                                KLFPM-00000635
 4        183   CrispxMSA                                 KLFPM-00000644
          184   Financials3                               KLFPM-00000651
 5
          185   Vendors                                   KLFPM-00000670
 6        186   Blacture14                                KLFPM-00000677
          187   AppTapMSA                                 KLFPM-00000692
 7        188   THXAgr                                    KLFPM-00000706
          189   BorqsSOW                                  KLFPM-00000726
 8
          190   iHeartMedia                               KLFPM-00000741
 9        191   Aerapay                                   KLFPM-00000749
          192   ZMVIZI_NDA                                KLFPM-00000752
10        193   Pras_Financials                           KLFPM-00000757
11        194   JL_Party                                  KLFPM-00000795
          195   EmilyHuang_chat-w-flight-info.jpeg        KLFPM-00000796
12        196   NLD_Trump_Defense                         KLFPM-00000797
          197   WHLog                                     KLFPM-00000798
13
          198   Basquist_DTR Art Holdings                 KLFPM-00000799
14        199   PrasLA                                    KLFPM-00000808
          200   PrasWC                                    KLFPM-00000831
15        201   PrasLA2                                   KLFPM-00000832
          202   Art                                       KLFPM-00000809
16
          203   Pras_WC_Penn_Picture                      KLFPM-00000804
17        204   Pras_Watches                              KLFPM-00000803
          205   Art3                                      KLFPM-00000833
18        206   Fugees_Verizon                            KLFPM-00000835
19        207   OFA2                                      KLFPM-00000800
          208   Fugees TourAgr                            KLFPM-00000838
20        209   Pras_Harlem                               KLFPM-00000801
          210   Art4                                      KLFPM-00000837
21
          211   PrasWC                                    KLFPM-00000802
22        212   FinInvest                                 KLFPM-00000805
          213   Pras_BHO                                  KLFPM-00000836
23        214   Art5                                      KLFPM-00000807
          215   Art6                                      KLFPM-00000806
24
          216   Pras_Biden                                KLFPM-00000834
25        217   Gouzer GJ Testimony Excerpt               DOJ-033423
          218   FEC Vetting Docs                          DOJ-0002388595
26        219   ECF-143_ConsentOrder                      KLFPM-00000850
27        220   Forfeiture Order                          KLFPM-00000907
          221   NH Law Review Article                     KLFPM-00000936
28        222   Satisfaction of Judgement (Red Granite)   KLFPM-00000966
                                        -6-
                    DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
         Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 7 of 8




 1              223   Thank You Credits                                     KLFPM-00000973
                224   Call for Scrutiny Article                             KLFPM-00000877
 2              225   Intentionally Not Used                                N/A
 3              226   WH Picture                                            DOJ-033085

 4         The Defense’s investigation of this case and preparation for trial continues, and Defendant

 5 reserves the right to add exhibits should it become necessary.

 6

 7

 8
     DATED: April 2, 2023                         Respectfully submitted,
 9
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                                                         Counsel for Defendant
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                                                         DC Bar No.: 888304007
21                                                       Retained Counsel for the Defendant
22

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                            DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
         Case 1:19-cr-00148-CKK Document 261 Filed 04/02/23 Page 8 of 8




 1                                    CERTIFICATE OF SERVICE

 2         I declare under penalty of perjury that the foregoing is true and correct this 2nd day of April,

 3 2023, at Washington D.C., and that this document is executed under penalty of perjury according to

 4 the laws of the United States of America.

 5
                                                          ____________________
 6                                                        Charles R. Haskell
                                                          Attorney at Law
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                           DEFENDANT MICHEL’S NOTICE OF UPDATED EXHIBITS
